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 7
     Attorney for Defendant,
 8   BROSNAN RISK CONSULTANTS, LTD
 9
10                  IN THE UNITED STATES DISTRICT COURT
11               FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
     RAYMOND MURILLO, individually and                    Case No.
14
     on behalf of all others similarly situated,          NOTICE OF REMOVAL OF
15
                                                          CIVIL ACTION PURSUANT TO
16               Plaintiff,                               28 U.S.C. §§ 1332, 1441, 1446,
17                                                        AND 1453
     v.
                                                          [CAFA JURISDICTION]
18
     BROSNAN RISK CONSULTANTS, LTD;
19
     and DOES 1 through 20, inclusive.
20                                                        Complaint Filed: March 12, 2021
21               Defendants.                              Trial Date:      TBD

22
23
24         TO THE CLERK OF THE ABOVE-ENTITLED COURT:

25         PLEASE        TAKE       NOTICE         that    Defendant     BROSNAN          RISK

26   CONSULTANTS, LTD ("Defendant") by and through its counsel, hereby remove the

27   above-captioned action from the Superior Court of the State of California for the

28   County of San Bernardino to the United States District Court for the Central District

                                                   1
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 1   of California pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453. In support of this

 2   Notice of Removal, Defendant states:

 3                        COMPLAINT AND TIMELINESS OF REMOVAL

 4         1.       On March 12, 2021, Plaintiff Raymond Murillo ("Plaintiff'), by and

 5   through his counsel, filed a Complaint in the Superior Court of the State of California

 6   for the County of San Bernardino, entitled Raymond Murillo v. Brosnan Risk

 7   Consultants, LTD, Case Number CIVSB2106646 ("State Court Action").

 8   Plaintiff’s Complaint asserts the following causes of action: (1) Failure to Pay

 9   Minimum Wages (2) Failure to Pay Overtime Wages; (3) Failure to Provide Meal

10   Periods; (4) Failure to Permit Rest Breaks; (5) Failure to Reimburse Business

11   Expenses; (6) Failure to Provide Accurate Itemized Wage Statements; (7) Failure to

12   Pay Weekly; (8) Failure to Pay All Wages Due Upon Separation of Employment; and

13   (9) Violation of Business & Professions Code §§ 17200, et seq. Declaration of

14   Matthew C. Sgnilek (“Sgnilek Decl.”) ¶ 2, Exh. 1. Plaintiff purports to bring these

15   claims on behalf of a putative class of "All California residents currently or formerly

16   employed by Defendant as non-exempt employees in the State of California at any
17   time between September 14, 2016 and the date of class certification” (“Proposed
18   Class”). Id.
19         2.       Plaintiff served Defendant with the Complaint via certified mail on April
20   19, 2021. (Declaration of Michelle Harkavy (“Harkavy Decl.”), ¶ 5.)
21         3.       On July 23, 2021, Defendant filed its Answer to Plaintiff’s Complaint.
22   Sgnilek Decl. ¶ 9, Exh. 8.
23         4.       Pursuant to 28 U.S.C. § 1446(a), Exhibits 1 through 8 to the Declaration
24   of Matthew C. Sgnilek, filed herewith, constitute all process, pleadings, and orders
25   that Defendant is aware of having been filed in the State Court Action.
26         5.       This case is removable under 28 U.S.C. § 1453(b) because it meets the
27   requirements of the Class Action Fairness Act of 2005, Pub. L. No. 109-2, 119 Stat. 4
28   (codified in scattered sections of 28 U.S.C.) (“CAFA”).

                                                  2
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 1       THIS CASE IS REMOVABLE UNDER 28 U.S.C. § 1453(b) BECAUSE IT
               QUALIFIES AS A "CLASS ACTION" THAT MEETS THE
 2                  REQUIREMENTS OF 28 U.S.C. § 1132(d)(2)
 3
             6.     This case qualifies as a "class action" in which the putative class
 4
     includes at least 100 members, the amount in controversy exceeds $5,000,000
 5
     exclusive of interest and costs, and one or more members of the putative class and
 6
     Defendant are citizens of different states. See 28 U.S.C. §§ 1332(d). Consequently,
 7
 8   this action is removable pursuant to 28 U.S.C. § 1453, which provides that a "class

 9   action" may be removed to federal court in accordance with 28 U.S.C. § 1446(b).

10         A. The putative class includes at least 100 members.
11           7.     Plaintiff purports to bring this action as an individual and on behalf
12   of "All California residents currently or formerly employed by Defendant as non-
13   exempt employees in the State of California at any time between September 14,
14   2016 and the date of class certification.” 1 See Compl., ¶ 20.
15         B. Defendant is not a governmental entity.
16           8.     Under 28 U.S.C. § 1332(d)(5)(B), CAFA does not apply to class actions
17   where "primary defendants are States, State officials, or other governmental entities
18
     against whom the district court may be foreclosed from ordering relief." Defendant
19
     is a private corporation, not a state, state official or other government entity exempt
20
     from the CAFA.
21
     ///
22
     ///
23
24
     1
      Plaintiff seeks to recover damages for a longer period of time by way of his inclusion of a claim
25   pursuant to Bus. & Prof. Code § 17200, et seq. and alleging that the statute of limitations for this
     matter was tolled between April 6, 2020, and October 1, 2020 pursuant to Cal. Rules of Court,
26   Appendix I, Emergency Rule No. 9. As an initial matter, Defendant does not concede that the class
27   period proposed by Plaintiff is the appropriate statute of limitations period or that Plaintiff is
     entitled to any damages, at all. Additionally, Defendant began its operations in California in March
28   2019 and therefore did not employ any non-exempt employees in California prior to March 2019.


                                                      3
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 1        C. The amount in controversy exceeds $5,000,000.

 2          9.      This Court has jurisdiction under CAFA, which authorizes the removal

 3   of class actions in which, among the other factors mentioned above, the amount in

 4   controversy for all class members exceeds $5,000,000. 28 U.S.C. § 1332(d).
 5          10.     The removal statute requires a defendant seeking to remove a case to
 6   federal court to file a notice "containing a short and plain statement of the grounds
 7   for removal." 28 U.S.C. § 1446(a). The Supreme Court, in Dart Cherokee Basin
 8   Operating Co. v. Owens, 574 U.S. 81 (2014), recognized that "as specified in
 9   §1446(a), a defendant's notice of removal need include only a plausible allegation
10
     that the amount in controversy exceeds the jurisdictional threshold." Only if the
11
     plaintiff contests or the court questions the allegations of the notice of removal is
12
     supporting evidence required. Id., at 88-89. Otherwise "the defendant's amount-in-
13
     controversy allegation should be accepted" just as a plaintiff's amount-in-
14
     controversy allegation is accepted when a plaintiff invokes federal court jurisdiction.
15
     Id
16
17          11.     In determining the amount in controversy, courts may consider

18   “evidence outside the complaint, including affidavits or declarations, or other
19   summary judgment type evidence relevant to the amount in controversy” at the time
20   of removal. Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, 1197 (9th Cir. 2015)
21   (internal quotations omitted). A removing defendant is “not required to comb
22   through its records to identify and calculate the exact frequency of the violations.”
23   Oda, et al. v. Gucci Am., Inc., 2015 U.S. Dist. LEXIS 1672, at *12 (C.D. Cal. Jan. 7,
24   2015).
25
            12.     Defendant disputes that the proposed class could ever be certified or
26
27
28

                                                    4
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 1   that Defendant is liable for any of the claims Plaintiff asserts in the Complaint. 2 See

 2   Compl. Nevertheless, Defendant submits that the aggregate amount in controversy,

 3   exclusive of interests and costs, exceeds $5,000,000. 28 U.S.C. § 1332(d)(6).
 4          13.     For purposes of determining whether the amount in controversy has
 5   been satisfied, the Court must presume that the Plaintiff will prevail on his claims.
 6   Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993,
 7   1001 (C.D. Cal. 2002) (citing Burns v. Windsor Ins. Co., 31 F. 3d 1092, 1096 (11th
 8   Cir. 1994) (stating that the amount in controversy analysis presumes that "plaintiff
 9
     prevails on liability."). The ultimate inquiry is what amount is put "in controversy"
10
     by plaintiff's complaint, not what defendant might actually owe. Rippee v. Boston
11
     Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005); accord Ibarra v. Manheim
12
     Investments, Inc., 775 F.3d 1193, 1198 n. 1 (9th Cir. 2015) (explaining that even
13
     when the court is persuaded the amount in controversy exceeds $5,000,000,
14
     defendants are still free to challenge the actual amount of damages at trial because
15
16   they are only estimating the amount in controversy).

17          14.     In his Complaint, Plaintiff brings claims for: (1) Failure to Pay
18   Minimum Wages (2) Failure to Pay Overtime Wages; (3) Failure to Provide Meal
19   Periods; (4) Failure to Permit Rest Breaks; (5) Failure to Reimburse Business
20   Expenses; (6) Failure to Provide Accurate Itemized Wage Statements; (7) Failure to
21   Pay Weekly; (8) Failure to Pay All Wages Due Upon Separation of Employment;
22
23
     2
24     Defendant denies that liability or damages can be established either as to Plaintiff or on a class-
     wide basis. Defendant does not concede, and reserves the right to contest, at the appropriate time,
25   Plaintiff’s allegations that this action may properly proceed as a class action. Defendant does not
     concede and reserves the right to contest, at the appropriate time, that any of Plaintiffs’ allegations
26   constitute a cause of action against it under applicable California law. No statement or reference
     contained herein shall constitute an admission of liability or a suggestion that Plaintiff will or could
27   actually recover any damages based upon the allegations contained in the Complaint or otherwise.
28   Defendant’s notice seeks only to establish that the amount in controversy is more likely than not in
     excess of CAFA’s jurisdictional minimum. “The amount in controversy is simply an estimate of the

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 1   and (9) Violation of Business & Professions Code §§ 17200, et seq. Sgnilek Decl. ¶

 2   2, Exh. 1.

 3            15.   Plaintiff seeks the following relief on behalf of himself and the putative
 4   class:
 5                  a.     For certification under California Code of Civil Procedure § 382
 6   of the proposed Class and any other appropriate subclass;
 7                  b.     For appointment of Raymond Murillo as class representative;
 8                  c.     For appointment of Aegis Law Firm, PC, as class counsel for all
 9
     purposes;
10
                    d.     For compensatory damages in an amount according to proof at
11
     trial;
12
                    e.     For an award of damages in the amount of unpaid compensation
13
     including, but not limited to, unpaid wages, unreimbursed expenses, benefits, and
14
     penalties;
15
16                  f.     For economic and/or special damages in an amount according to

17   proof at trial;
18                  g.     For liquidated damages pursuant to Labor Code § 1194.2;
19                  h.     For statutory penalties to the extent permitted by law, including
20   those pursuant to the Labor Code and TWC Wage Orders;
21                  i.     For injunctive relief as provided by the California Labor Code
22   and California Business and Professions Code §§ 17200, et seq.;
23                  j.     For restitution as provided by Business and Professions Code §§
24
     17200, et seq.;
25
                    k.     For an order requiring Defendants to restore and disgorge all
26
     funds to each employee acquired by means of any act or practice declared by this
27
28
     total amount in dispute, not a prospective assessment of [Defendant’s] liability.” Lewis v. Verizon

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 1   Court to be unlawful, unfair, or fraudulent and, therefore, constituting unfair

 2   competition under Business and Professions Code§§ 17200, et seq.;

 3                 l.     For pre-judgment interest;
 4                 m.     For reasonable attorneys' fees, costs of suit, and interest to the
 5   extent permitted by law, including, but not limited to, Code of Civil Procedure §
 6   1021.5 and Labor Code §§226(e) and 1194; and
 7                 n.     For such other relief as the Court deems just and proper.
 8           16.   The amount in controversy requirement under CAFA can easily be met
 9
     by making reasonable assumptions about the putative class and by focusing on the
10
     above-mentioned damages and penalties that Plaintiff seeks to pursue using
11
     Defendant class information only.
12
                   1.     First Cause of Action for Unpaid Minimum Wages
13
             17.   Plaintiff alleges that during the relevant time period, Defendant failed to
14
     pay Plaintiff and Class Members all wages owed when Defendant did not pay for all
15
     hours worked, including but not limited to, hours spent working off-the-clock and
16
17   through meal periods while clocked out, and time rounded in Defendant’s favor,

18   among others. Compl., ¶ 41. Plaintiff further alleges that Defendant failed to pay at
19   least minimum wage to Plaintiff and Class Members for all hours worked. Compl.,
20   ¶ 42.
21           18.   Based on these allegations, Plaintiff seeks to recover the full amount of
22   alleged unpaid minimum wages, interest and penalties thereon, liquidated damages,
23   attorneys’ fees and costs. Compl., ¶¶ 43-44.
24           19.   Plaintiff does not allege the number of regular hours he contends is
25
     unpaid other than that “[d]uring the relevant time period, Defendants failed to pay
26
     Plaintiff and Class Members all wages owed when Defendants did not pay for all
27
28
     Commc’ns, Inc., 627 F.3d 395, 400 (9th Cir. 2010).

                                                     7
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 1   hours worked.” Compl., ¶ 41. From March 17, 2019, through October 1, 2020,

 2   Defendant employed approximately 2,441 non-exempt employees who worked

 3   approximately 38,999 workweeks, with an average hourly rate of $16.32.
 4         20.    Even taking a conservative approach and limiting Plaintiff’s unpaid
 5   minimum wages claim to two (2) hours of unpaid wages per workweek, Plaintiff has
 6   placed intro controversy at least $1,272,927.36 ($16.32 per hour x 2 hours of unpaid
 7   wages per workweek x 38,999 workweeks).
 8         21.    Plaintiff also seeks liquidated damages. Since according to Labor Code
 9
     section 1194.2, liquidated damages are equal to the amount of unpaid wages, the
10
     amount in controversy for liquidated damages is approximately $1,272,927.36.
11
           22.    In total, the amount in controversy for Plaintiff’s alleged minimum
12
     wage claim is $2,545,854.72.
13
                  2.    Second Cause of Action for Unpaid Overtime Wages
14
           23.    In his second cause of action, Plaintiff alleges that during the relevant
15
     times mentioned, Plaintiff and Class Members were required to work in excess of
16
17   eight (8) hours in a day, forty (40) hours in a week, and/or on a seventh consecutive

18   day of work. Compl., ¶ 52. However, Plaintiff alleges that Defendant failed to pay
19   Plaintiff and Class Members overtime wages for all overtime hours worked when
20   Defendant failed to pay for time spent working off-the-clock and through meal
21   periods, and time rounded in Defendant’s favor, among other reasons. Plaintiff
22   further alleges that when Defendant paid overtime wages, they were sometimes
23   miscalculated because, among other reasons, Defendant did not include all non-
24   discretionary pay in the calculation. Compl., ¶ 53.
25
           24.    The Complaint alleges various theories of violations leading to unpaid
26
     overtime liability: an unlawful rounding practice, paying the overtime rate at the
27
     regular rate or otherwise inaccurate rate of pay, and failing to take into account all
28

                                                 8
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 1   forms of remuneration including non-discretionary bonuses into the regular rate of

 2   pay for purposes of calculating overtime rate of pay. Compl., ¶ 53.

 3           25.   Based on these allegations, Plaintiff seeks to recover alleged unpaid
 4   overtime wages, interests and penalties thereon, attorneys’ fees and costs. Compl., ¶
 5   56.
 6           26.   Plaintiff does not allege the number of overtime hours he contends is
 7   unpaid other than that “[d]uring the relevant time period, Defendants failed to pay
 8   Plaintiff and Class Members overtime wages for all overtime hours worked Compl.,
 9
     ¶ 53.     As discussed above, from March 17, 2019, through October 1, 2020,
10
     Defendant employed approximately 2,441 non-exempt employees who worked
11
     approximately 38,999 workweeks, with an average hourly rate of $16.32. Even
12
     taking a conservative approach and limiting Plaintiff’s overtime claim to only 2
13
     hours of unpaid overtime per workweek at time and a half rather than double time,
14
     Plaintiff has placed into controversy at least $1,909,391.04 ($16.32 per hour x 1.5
15
16   overtime premium x 38,999 workweeks x 2 hours per workweek).

17                 3.     Plaintiff’s Third Cause of Action for Failure to Provide Meal
18                 Periods or Compensation In Lieu Thereof
19           27.   With respect to Plaintiff’s third cause of action for failure to provide
20   meal periods, the Complaint alleges that “During the relevant time period, Plaintiff
21   and Class Members did not receive compliant meal periods for working more than
22   five (5) and ten (10) hours per day because their meal periods were missed, late,
23   short, interrupted, on-duty, and/or they were not permitted to take a second meal
24   period.” Compl., ¶ 62. Plaintiff further alleges that at all relevant times, Defendants
25
     failed to pay Plaintiff and Class Members meal period premiums for missed, late,
26
     and/or short meal periods pursuant to Labor Code § 226.7(b) 10 and section 11 of
27
     the applicable IWC Wage Order. Compl., ¶ 64.
28

                                                   9
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 1         28.    Although Plaintiff does not allege the number of shifts worked per

 2   workweek, the number of shifts in which meal periods were required, the number of

 3   missed meal periods, or any other specific allegations, based on reasonable
 4   assumptions drawn from the Complaint, Defendant reasonably assumes two (2) meal
 5   period violations per workweek.
 6         29.    From March 17, 2019, through October 1, 2020, Defendant employed
 7   approximately 2,441 non-exempt employees who worked approximately 38,999
 8   workweeks. The average hourly rate of pay of class members is $16.32.
 9
           30.    Utilizing a conservative violation rate of two (2) meal period violations
10
     per week, and using the average hourly rate of $16.32, the amount in controversy
11
     related solely to Plaintiff’s meal period claim would be $1,272,927.36 ($16.32 per
12
     hour x 2 meal period violations per workweek x 38,999 workweeks).
13
                  4.     Plaintiff’s Fourth Cause of Action for Failure to Provide Rest
14
                  Periods or Compensation In Lieu Thereof
15
           31.    With respect to Plaintiff’s fourth cause of action for failure to provide
16
17   rest periods, the Complaint alleges that “[d]uring the relevant time period, Plaintiff

18   and Class Members did not receive a ten (10) minute rest period for every four (4)

19   hours or major fraction thereof worked, including working in excess of ten (10)
20   hours in a day, because they were required to work through their rest periods, were
21   required to remain on-duty during rest periods, and/or were not authorized to take
22   their rest periods.” Compl., ¶ 69. Plaintiff further alleges that “At all relevant times,
23   Defendants failed to pay Plaintiff and Class Members rest period premiums for
24   missed, late, and/or interrupted rest periods pursuant to Labor Code § 226.7(b) and
25
     section 12 of the applicable IWC Wage Order.” Compl., ¶ 71.
26
           32.    Although Plaintiff does not allege the number of shifts worked per
27
     workweek, the number of shifts in which rest periods were required, the number of
28

                                                 10
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 1   missed rest periods, or any other specific allegations, based on reasonable

 2   assumptions drawn from the Complaint, Defendant reasonably assumes two (2) rest

 3   period violations per workweek.
 4         33.    From March 17, 2019 through October 1, 2020, Defendant employed
 5   approximately 2,441 non-exempt employees who worked approximately 38,999
 6   workweeks. The average hourly rate of pay of class members is $16.32.
 7         34.    Utilizing a violation rate of two (2) rest periods per week, and using the
 8   average hourly rate of $16.32, the amount in controversy related solely to Plaintiff’s
 9
     rest break claim would be $1,272,927.36 ($16.32 per hour x 2 rest period violations
10
     per workweek x 38,999 workweeks).
11
                  5.     Plaintiff’s Sixth’s Cause of Action for Failure to Provide
12
                  Accurate Wage Statements
13
           35.    For his Sixth Cause of Action, Plaintiff alleges that “[d]uring the
14
     relevant time period, Defendants have knowingly and intentionally failed to comply
15
     with Labor Code § 226(a) on wage statements that were provided to Plaintiff and
16
17   Class Members. The deficiencies include, among other things, the failure to

18   correctly state the gross and net wages earned, total hours worked, all applicable

19   hourly rates in effect, and the number of hours worked at each hourly rate by
20   Plaintiff and Class Members.” Compl., ¶ 83. The Complaint further alleges that
21   “[a]s a result of Defendants' knowing and intentional failure to comply with Labor
22   Code § 226(a), Plaintiff and Class Members have suffered injury and damage to
23   their statutorily-protected rights. Specifically, Plaintiff and Class Members are
24   deemed to suffer an injury pursuant to Labor Code § 226(e) where, as here,
25
     Defendants intentionally violated Labor Code § 226(a). Plaintiff and Class Members
26
     were denied both their legal right to receive, and their protected interest in receiving,
27
     accurate itemized wage statements under Labor Code § 226(a). In addition, because
28

                                                 11
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 1   Defendants failed to provide the accurate rates of pay on wage statements,

 2   Defendants prevented Plaintiff and Class Members from determining if all hours

 3   worked were paid at the appropriate rate and the extent of the underpayment.
 4   Plaintiff had to file this lawsuit in order to analyze the extent of the underpayment,
 5   thereby causing Plaintiff to incur expenses and lost time. Plaintiff would not have
 6   had to engage in these efforts and incur these costs had Defendants provided the
 7   accurate hours worked, wages earned, and rates of pay. This has also delayed
 8   Plaintiff's ability to demand and recover the underpayment of wages from
 9
     Defendants.” Compl., ¶ 84.
10
            36.     The wage statement cause of action has a one-year limitations period
11
     (i.e., September 17, 2019 3 forward) and is not affected by the unfair business
12
     practices claim. Potential penalties are $50 per person for the initial pay period, and
13
     $100 per person for each later pay period, up to a maximum of $4000 per employee.
14
            37.     While Defendant denies the validity and merit of Plaintiff’s wage
15
16   statement claims, for purposes of removal only, based on the allegations in the

17   Complaint, there were approximately 814 4 non-exempt employees employed by
18   Defendant since September 17, 2019.               These 814 employees have been issued
19   approximately 6,500 5 pay stubs since September 17, 2019. Based on the allegations
20   in the complaint, Plaintiff alleges that Defendant failed to provide a compliant wage
21   statement on each of the wage statements. As such, the amount at controversy just
22   for this claim, based on the allegations in the Complaint, is $609,300.00 ([814 pay
23   periods x $50 = $56,450] + [5,686 pay periods x $100 = $1,002,200]).
24
25   3
       This statute of limitations period is based on Plaintiff’s proposed class in the Complaint.
     However, as stated earlier, Defendant does not concede that the class period proposed by Plaintiff is
26   the appropriate statute of limitations period or that Plaintiff is entitled to any damages, at all.
     4
       For illustrative purposes, this number was calculated by dividing the 2,441 non-exempt employees
27   who worked for Defendant from March 17, 2019, through October 1, 2020, by 3 (2,441 ÷ 3 = 814).
     5
28     For illustrative purposes, this number was calculated by dividing the total pay periods from March
     17, 2019, through October 1, 2020 by 3 (19,500 ÷ 3 = 6,500)

                                                      12
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 1               6.     Plaintiff’s Eighth Cause of Action for Waiting Time Penalties

 2         38.   For his Eighth Cause of Action, Plaintiff seeks waiting time penalties

 3   pursuant to Labor Code Section 203. Specifically, Plaintiff alleges that “[d]uring the

 4   relevant time period, Defendants willfully failed to pay the Waiting Time Subclass
 5   all their earned wages upon termination, including, but not limited to, proper
 6   minimum wage and overtime compensation, meal period premiums, and rest period
 7   premiums either at the time of discharge or within seventy-two (72) hours of their
 8   leaving Defendant’s employ.” Compl., ¶ 94. Plaintiff alleges that “Defendant’s
 9   failure to pay the Waiting Time Subclass all their earned wages at the time of
10
     discharge or within seventy-two (72) hours of their leaving Defendants' employ is in
11
     violation of Labor Code§§ 201 and 202.” Compl., ¶ 95. Plaintiff further alleges that
12
     “…the Waiting Time Subclass is entitled to recover from Defendants the statutory
13
     penalty, which is defined as the Waiting Time Subclass members' regular daily
14
     wages at their regular hourly rate of pay for each day they were not paid, up to a
15
     maximum of thirty (30) days.” Compl., ¶ 97. For his Eighth Cause of Action,
16
17   Plaintiff seeks waiting time penalties pursuant to Labor Code section 203.

18         39.   Defendant denies the validity and merit of Plaintiff’s waiting time
19   penalties claim. However, for purposes of removal only, based on a preliminary
20   review of relevant records, Defendant estimates that approximately 417 employees
21   have separated employment from March 2019 through September 20, 2020.
22   Accordingly, although Defendant denies Plaintiff’s allegations, including any
23   alleged damages, even assuming one (1) minute of unpaid wages and based on the
24   reasonable assumption that the putative class would receive waiting time penalties
25
     based on an average eight (8) hours worked per workday for thirty (3) days, and
26
     using the average hourly rate of pay of $16.32, an estimate of the amount in
27
     controversy related solely to waiting time penalties is $1,633,305.60 (417
28

                                                 13
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 1   individuals x 30 days x 8 hours per day x $16.32 per hour).

 2                7.     Attorney’s Fees

 3         40.    Plaintiff also seeks attorneys' fees and costs in his Complaint. See,

 4   Compl., Prayer for Relief. The Court must consider attorneys' fees in determining
 5   whether the amount in controversy is met, since the California Labor Code allows
 6   recovery of such fees. It is well-settled that claims for statutory attorneys' fees are to
 7   be included in the amount in controversy. See, e.g., Fritsch v. Swift Transportation
 8   Company of Arizona, LLC, 899 F.3d 785 (9th Cir. 2018); Kroske v. U.S. Bank Corp.,
 9   432 F.3d 976, 980 (9th Cir. 2005), cert. denied, 127 S. Ct. 157 (2006); Galt G/S v.
10
     JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) ("We hold that where an
11
     underlying statute authorizes an award of attorneys' fees, either with mandatory or
12
     discretionary language, such fees may be included in the amount in controversy.").
13
     In California, it is not uncommon for an attorneys' fee award to be twenty-five to
14
     thirty percent of the settlement. See, e.g., McGuigan v. City of San Diego, 183 Cal.
15
     App. 4th 610, 638 (2010) (noting attorneys' fees paid in settlement of $1.6 million);
16
17   Pellegrino v. Robert Half Intl, Inc., 182 Cal. App. 4th 278, 287, 296 (2010)

18   (affirming $558,926.85 in attorneys' fees in exemption misclassification class action,
19   but reversing as to multiplier); Vasquez v. California, 45 Cal. 4th 243, 249 (2008)
20   (affirming award of $727,000 in attorneys' fees plus a multiplier that equate to total
21   fees of $1,199,550 in class action involving violations of a living wage ordinance,
22   among others).
23         41.    The attorneys' fees benchmark in the Ninth Circuit is 25%. Paul,
24   Johnson, Alston & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989) ("We note
25
     with approval that one court has concluded that the 'bench mark' percentage for the
26
     fee award should be 25 percent.") (citation omitted); Lo v. Oxnard Euro. Motors,
27
     LLC, No. 11-CV-1009, 2012 US. Dist. LEXIS 73983, *8-9 (S.D. Cal. May 29,
28

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 1   2012) ("The Ninth Circuit has accepted as a benchmark for an attorneys' fees awards

 2   a twenty-five percent of the common fund recovery.").

 3         D. Summary of Amount in Controversy
 4         42.   Even when taking a significantly conservative approach and accounting
 5   only for a certain timeframe throughout the class period (from March 17, 2019
 6   through October 1, 2020) and accounting only for certain claims while disregarding
 7   his fifth and seventh causes of action for Unreimbursed Business Expenses and
 8   Failure to Pay Weekly, the amount that Plaintiff has placed in controversy totals
 9   $9,243,706.08 plus attorney's fees [$609,300.00 for wage statement penalties +
10
     $1,633,305.60 for waiting time penalties + $2,545,854.72 for unpaid minimum
11
     wages and liquidated damages + $1,272,927.36 for meal break premium +
12
     $1,272,927.36 for rest break premium + $1,909,391.04 for unpaid overtime]. This
13
     subtotal far exceeds $5,000,000 absent any inclusion of attorneys’ fees. However,
14
     taking into account attorneys’ fees at the benchmark percentage of 25% further
15
     increases the amount in controversy by $2,310,926.52 for a total amount in
16
17   controversy of $11,554,632.60.

18
19   Plaintiff's Alleged Claim                        Amount in Controversy
20   Wage Statement Penalties                         $609,300.00
21
     Waiting Time Penalties                           $1,633,305.60
22
23   Unpaid Minimum Wages                             $2,545,854.72
24
     Meal Break Premium                               $1,272,927.36
25
26   Rest Break Premium                               $1,272,927.36
27   Unpaid Overtime                                  $1,909,391.04
28

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 1   Attorney's Fees                                  $2,310,926.52

 2   Conservative Sum Amount in Controversy           $11,554,632.60
 3
 4
           43.   Removal of this action is therefore proper as the aggregate value of
 5
     Plaintiff’s class causes of action for unpaid overtime, minimum wages, unpaid meal
 6
     and rest periods premiums, inaccurate wage statements, final wages not timely paid,
 7
 8   and attorneys’ fees is well in excess of the CAFA jurisdictional requirement of $5

 9   million. See 28 U.S.C. § 1332(d)(2). Notably, the analysis above does not consider
10   penalties sought for alleged unreimbursed business expenses and failure to pay
11   weekly. This analysis is also extremely conservative as it only includes class data
12   information from March 17, 2019, through October 1, 2020 (as opposed to present).
13         44.   Moreover, the claims alleged will likely not be tried for at least a year
14   into the future, during which time the amount in controversy will continue to
15   increase.
16
           45.   As the foregoing shows, the putative class’s claims easily exceed the
17
     $5,000,000 amount in controversy threshold for the purpose of CAFA jurisdiction.
18
           E. Plaintiff and Defendant Are Citizens of Different States.
19
           46.   CAFA's minimal diversity requirement is satisfied, inter alia, when
20
     "any member of a class of plaintiffs is a citizen of a State different from any
21
     defendant." 28 U.S.C. §§ 1332(d)(2)(A); 1453(b). In a class action, only the
22
23   citizenship of the named parties is considered for diversity purposes and not the

24   citizenship of the class members. Snyder v. Harris, 394 U.S. 332, 339-40 (1969).

25   Additionally, for removal purposes, diversity must exist both at the time the action
26   was commenced in state court and at the time of removal. See Strotek Corp. v. Air
27   Transport Ass'n of America, 300 F3d 1129, 11 (9th Cir. 2002). Minimal diversity of
28   citizenship exists here because Plaintiff and Defendant are citizens of different

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 1   states.

 2             47.   For diversity purposes, a person is a "citizen" of the State in which he

 3   or she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th
 4   Cir. 1983). A person's domicile is the place he or she resides with the intention to
 5   remain, or to which he or she intends to return. Kanter v. Warner-Lambert Co., 265
 6   F.3d 853, 857 (9th Cir. 2001).
 7             48.   Plaintiff alleges in the Complaint that he is a resident of California.
 8   Compl., at ¶ 10. As such, Plaintiff is a citizen of California.
 9
               49.   For diversity purposes, a corporation "shall be deemed a citizen of any
10
     State by which it has been incorporated and of the State where it has its principal
11
     place of business." 28 U.S.C. § 1332(c)(1). The United States Supreme Court has
12
     confirmed that to determine a corporation's principal place of business, a court must
13
     apply the "nerve center" test. See Hertz Corp. v. Friend, 130 S. Ct. 1181 (2010). In
14
     relevant part, the Court explained, as follows:
15
16             We conclude that ‘principal place of business' is best read as referring to
               the place where a corporation's officers direct, control, and coordinate
17             the corporation's activities. It is the place that Courts of Appeals have
18             called the corporation's nerve center.’ And in practice it should normally
               be the place where the corporation maintains its headquarters -- provided
19             that the headquarters is the actual center of direction, control, and
20             coordination, i.e., the ‘nerve center,’ and not simply an office where the
               corporation holds its board meetings (for example, attended by directors
21             and officers who have traveled there for the occasion).
22
     Id. at 1041-42.
23
               50.   The "nerve center" test of a corporation's principal place of business
24
     looks to the place in which the corporation's executives and administrative functions
25
     are located. Scot Typewriter Co. v. Underwood Corp., 170 F. Supp. 862 (S.D.N.Y.
26
     1959) (corporation's principal place of business was New York, where its
27
28   management was located, rather than Connecticut where most of its manufacturing

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 1   was done); see also Diaz-Rodriguez v. Pep Boys Corp., 410 F. 3d 56, 60 (1st Cir.

 2   2005) (nerve center test governs where corporation has "complex" and "far flung”

 3   activities).
 4          51.     Defendant is a citizen of the State of New York, not California. At the
 5   time Plaintiff filed the State Court Action, Defendant was incorporated under the
 6   laws of the State of New York. Defendant is still incorporated under the laws of the
 7   state of New York. Harkavy Decl., ¶ 2. At the time Plaintiff filed the State Court
 8   Action, Defendant's principal place of business was located in New York because its
 9
     executive, operational and administrative office and functions are located in New
10
     York. See Breitman v. May Co., 37 F.3d 562, 564 (9th Cir. 1994) (corporation is
11
     citizen of state in which its corporate headquarters are located and where its
12
     executive and administrative functions are performed). Defendant's principal place
13
     of business is still located in New York. Harkavy Decl., ¶¶ 2-4. All of Defendant’s
14
     current corporate officers reside in the State of New York and are based out of its
15
16   New York office, including its Chief Executive Officer, Secretary, and Chief

17   Administrative Officer. Harkavy Decl., ¶ 3. Defendant is not incorporated under the
18   laws of the State of California and does not have its principal place of business in
19   California, either at the time Plaintiff filed the State Court Action, or currently. In
20   fact, Defendant only began its operations in California in March 2019. Harkavy
21   Decl., ¶¶ 2-4.
22          52.     In accordance with 28 U.S.C. § 1332, there is complete diversity of
23   citizenship because Plaintiff (California) and Defendant (New York) are citizens of
24
     different States. See 28 U.S.C. § 1332(a)(1), (c)(l).
25
            53.     For purposes of removal, the citizenship of Doe defendants is
26
     disregarded and only named defendants are considered. 28 U.S.C. § 1441(a);
27
     Accord, Newcombe v. Adol Coors Co., 157 F.3d 686, 690-91 (9th Cir. 1998) (citing
28

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 1   28 U.S.C. § 1441(a)).

 2         54.    Does 1 through 20, inclusive, are wholly fictitious. The Complaint does

 3   not set forth the identity or status of any said fictitious defendants, nor does it set
 4   forth any charging allegation against any fictitious defendants. The citizenship of
 5   these Doe defendants is to be disregarded for the purposes of determining diversity
 6   jurisdiction, and thus cannot destroy the diversity of citizenship between the parties
 7   in this case. 28 U.S.C. § 1441(a). Accord, Newcombe, 157 F.3d at 690-91 (citing 28
 8   U.S.C. § 1441(a). Furthermore, because the Doe defendants have not yet been
 9
     served, they need not join or consent to Defendants’ Notice of Removal. Salveson v.
10
     Western States Bankcard Ass’n, 731 F.2d 1423, 1429 (9th Cir. 1984) (named
11
     defendants not yet served in the state court action need not join in the notice of
12
     removal), superseded by statute on other grounds in Ethridge v. Harbor House Rest.,
13
     861 F.2d 1389 (9th Cir. 1988).
14
                                   REMOVAL IS TIMELY
15
           55.    An action may be removed from state court by filing a notice of
16
17   removal, together with a copy of all process, pleadings, and orders served on the

18   defendant within 30 days of defendant receiving the initial pleading. See 28 U.S.C. §
19   1446(b); Murphy Bros, Inc. v. Mitchetti Pipe Stringing, Inc., 526 U.S. 344, 354
20   (1999) (the 30-day removal period runs from the service of the summons and
21   complaint). Rule 6 of the Federal Rules of Civil Procedure provides, in pertinent
22   part, that when computing a time period stated in number of days, as with the 30-day
23   removal period, the court must "include the last day of the period, but if the last day
24   is a Saturday, Sunday, or legal holiday, the period continues to run until the end of
25
     the next day that is not a Saturday, Sunday, or legal holiday." Fed. R. Civ. P.
26
     6(a)(1)(C); see Anderson v. State Farm Mut. Auto. Ins. Co., 917 F.3d 1126, 1128 n.2
27
     (9th Cir. 2019) ("Thirty days from February 13, 2015, was Sunday, March 15, 2015,
28

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 1   so the notice of removal would have been timely filed on Monday, March 16,

 2   2015.").

 3         56.    Here, Plaintiff served the Defendant with the Complaint on April 19,
 4   2021. However, the court stayed all the proceedings in their entirety on April 12,
 5   2021. As such, removal of this action is timely because the Notice has been filed
 6   within 30 days from the date that the court lifted the stay on June 23, 2021.
 7                                           VENUE
 8         57.    Venue is proper in this district and division because the Superior Court
 9   of the State of California for the County of San Bernardino is located within the
10
     federal Central District of California, Eastern Division, and thus is the "district and
11
     division embracing the place where such action is pending." 28 U.S.C. § 84(c),
12
     1391, 1441(a) and 1446.
13
                                  NOTICE TO PLAINTIFF
14
15         58.    As required by 28 U.S.C. § 1446(d), Defendant will provide prompt
16   written notice of the filing of this Notice of Removal.
17   ///
18
19   ///
20
21
     ///
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23
     ///
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     ///
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27
28   ///

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           NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446, and 1453
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 1               NOTICE TO THE SAN BERNARDINO SUPERIOR COURT

 2         59.    As required by 28 U.S.C. § 1446(d), Defendant will promptly file this

 3   Notice of Removal with the Clerk of the Superior Court of California for the County

 4   of San Bernardino.
 5         WHEREFORE, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, 1446, and 1453,
 6   Defendant removes this case from the Superior Court of the State of California,
 7   County of San Bernardino, to the United States Court for the Central District of
 8   California, Eastern Division.
 9
10   Dated:   July 23, 2021                      O’HAGAN MEYER
11
12                                        By:    __________________________
                                                 Matthew C. Sgnilek, Esq.
13
                                                 Andrea Rosenkranz, Esq.
14
                                                 Attorney for Defendant,
15
                                                 BROSNAN RISK CONSULTANTS,
16                                               LTD
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 1                              CERTIFICATE OF SERVICE

 2               Raymond Murillo, et al. v. Brosnan Risk Consultants, Ltd.
 3               San Bernardino Superior Court Case No. CIVSB2106646

 4         I am over the age of eighteen years and not a party to the within action. I
 5   am employed by O’HAGAN MEYER, whose business address is 1601 Pacific
     Coast Highway, Suite 290, Hermosa Beach, CA 90254.
 6
 7         On July 23, 2021, I served the within document(s) described as:

 8   NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C. §§
 9   1332, 1441, 1446, AND 1453

10   On the parties in said action as follows:
11
                                          See Service List
12
13
                  [BY ELECTRONIC SERVICE] – I caused such document(s) to be
14                electronically transmitted to the email addresses of the parties listed
15                on the Service List pursuant to agreement with counsel for the parties
                  to receive service by e-mail.
16
17        I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
18
19         Executed on July 23, 2021, at Hermosa Beach, California.
20
21
                                                 ____________________
22                                                   Liana Bickford
23
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                                                 1
                                     CERTIFICATE OF SERVICE
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 1                                    SERVICE LIST

 2              Raymond Murillo, et al. v. Brosnan Risk Consultants, Ltd.
 3              San Bernardino Superior Court Case No. CIVSB2106646

 4
 5    Attorneys for Plaintiff Raymond         SAMUEL A. WONG
 6   Murillo, individually, and on behalf     KASHIF HAQUE
       of all others similarly situated       JESSICA L. CAMPBELL
 7                                            AEGIS LAW FIRM, PC
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                                              Irvine, California 92618
 9                                            Email: swong@aegislawfirm.com
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                                              Email: jcampbell@aegislawfirm.com
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                                   CERTIFICATE OF SERVICE
